Case 1:13-cv-02975-LGS-SN Document 342 Filed 11/19/18 Page 1 of 10

 

 

UNITED STATES Districs, COURT»:
SOUTHERN DISTRICT OF New YORK.

Sachin Shah

 

 

Fill in above the full name of each plaintiff or petitioner.
CaseNo. 13. CV 2975 (LGS) (SN)

 

-against-

Justin S. Lumiere

 

Stefan Lorca De St Pierre Lumiere

Lester L. Levy

 

 

 

Fill in above the full name of each defendant or
respondent.

DECLARATION

 

 

Briefly explain above the purpose of the declaration, for example, “in Opposition to Defendant’s
Motion for Summary Judgment.”

L Justin S. Lumiere , declare under penalty of perjury that the

 

following facts are true and correct:

In the space below, describe any facts that are relevant to the motion or that respond to a court
order. You may also refer to and attach any relevant documents.

See Attached Letter dated 11/14/2018

 

 

 

 

 

Rev. 6/30/16
Case 1:13-cv-02975-LGS-SN Document 342 Filed 11/19/18 Page 2 of 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ay
Attach additional pages and documents if necessary.
—_
11/14/2018 J ttt
Executed on (date) po "
Justin S Lumiere

 

 

 

 

 

Name Prison Identification # (if incarcerated)
6875 Willow Wood Dr. Apt. 2042 Boca Raton FL 33434
Address City State Zip Code
561.400.0760 LumiereJustin@gmail.com
Telephone Number (if available) E-mail Address (if available)

Page 2
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November 14, 2018

 

Honorable Lorna G. Schofield
United States District Judge
Thurgood Marshall

United States Courthouse

40 Foley Square

New York, NY 10007

Re: Shah v. Levy: 13 CIV 2975 (LGS) (SN)

My name is Justin S. Lumiere. | am a financial advisor with Bank of America Merrill Lynch in
Boca Raton, FL. | am the father of 2 boys, Jack Everett Lumiere (aged 7) and Gavin Zane Lumiere
(aged 4). | am a graduate of Emory University where | earned a Bachelor of Arts in French
Literature and The University of Chicago Booth School of Business where | earned a Master of
Business Administration.

Lester L. Levy stole my identity and got me caught up in a lawsuit for allegations that it was
determined | had nothing to do with and which Plaintiff Sachin Shah eventually dropped all
charges against me as stipulated and ordered in a filing dated 8/20/2015. Although it was
ordered that the Caption remove my name Justin S. Lumiere, when using an Internet search
engine to read about me, someone will find the new caption Shah v Levy, but parts of the
contents of the filings will also show up without even having to click on the Internet search
result and will reveal my name along with unflattering words such as “Temporary Restraining
Order”. As stated above, |am a financial advisor with Bank of America Merrill Lynch and it is
common for new prospects to conduct internet searches of the advisors whom they are
contemplating hiring to manage their assets. When conducting an Internet search under Justin
S. Lumiere on Google.com for example the following will appear on the first internet search
page or a page thereafter:

Shah v. Levy Docket Sheet - DocketBird
https:/Awww.docketbird.com/court-cases/Shah-v-Levy/nysd-1:2013-cv-02975

~ ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION TEMPORARY
RESTRAINING ORDER filed by Sachin K. Shah. Defendants Justin S. Lumiere and ...

Amending the Caption does not remove the unappealing contents of the filings that will show
up without even having to click on the caption. | have worked hard my entire career and now
my name is associated with unflattering and slanderous information. As stated above, | am also
the father to 7 year old Jack Everett Lumiere and 4 year old Gavin Zane Lumiere, and it is sad to
Case 1:13-cv-02975-LGS-SN Document 342 Filed 11/19/18 Page 4 of 10

know that any of the parents of their friends can find unbecoming words about their father
which was all the result of the ease at which someone can simply register an internet email
address under someone else’s name as Lester L. Levy did and destroy someone’s reputation.

| am pleading with the court to have documents redacted to remove my name Justin S. Lumiere
or alternatively that an order be issued such that my name is not to be visible within the body
of an internet search result having to do with the Sachin Shah v. Lester L. Levy case.

Respectfully Yours, ~~

  
 

stin S. Lumiere
 

 

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e justin lumiere Q
All Images News Shopping Videos More Settings Tools
About 6,850,000 results (0.46 seconds)
Merrill Lynch Advisor | Justin Lumiere My Account

fa.ml.com/Merrilllynch ¥

Contact Merrill Lynch To Help Make your Financial Goals A Reality. Advisor Offices Near You. Periodic
Reviews. Chief Investment Office. Customized Advice. Fee & Risk Transparency. 14,000 Financial
Advisors, Progress Updates. Financial Evaluations. Goal Prioritization.

Justin Lumiere

www,justinlumiere.com/ ¥

JPG. JLumiere_LandinPagelmage_SF001.JPG. Justin Lumiére. INTERDISCIPLINARY ARTIST +
DESIGNER. Design : Photo: Film.

Justin S Lumiere - BOCA RATON,FL | Merrill Lynch
https://fa.ml.com/florida/boca-raton/justin.lumiere +

Financial guidance and wealth management services from Justin S Lumiere - Merrill Lynch in BOCA
RATON, FL.

Justin Lumiere - Financial Advisor - Merrill Lynch Wealth Management ...
https://www.linkedin.com/in/justin-lumiere-149b60130

View Justin Lumiere’s profile on Linkedin, the world's largest professional community. Justin has 3 jobs
listed on their profile. See the complete profile on ...

IAPD - investment Adviser Representative Summary - Justin S Lumiere
https://adviserinfo.sec.gov/IAPD/tAPDIndviSummary.aspx?INDVL_PK=2875320

Justin S Lumiere is an Investinent Adviser at MERRILL LYNCH, PIERCE, FENNER & SMITH
INCORPORATED, BOCA RATON, FL. View current licensing ...

images for justin lumiere

 

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View the profiles of people named Justin Lumiere. Join Facebook to connect with Justin Lumiere and
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Videos

Let Me Love You by
Justin Bieber & DJ
Snake (Eric Lumiere
Cover)

Eric Lumiere
YouTube - Aug 13, 2016

 

Christi Razzi and Justin Lumiere Wedding Registry

3:09

DJ Snake ft. Justin
Bieber - Let Me Love
You (Roostz ft. Eric
Lumiere ...

The Vibe Guide
YouTube - Sep 7, 2016

B18

DJ Snake Ft Justin >
Bieber - Let Me Love

You (Eric Lumiere Cover
Xo,

Cruxx
YouTube - Aug 31, 2016

https://registry.theknot.com/christi-razzi-justin-lumiere-january-20 17-me/15877328 ¥

Where you'll find tools to secure and manage yc
Account and control your data

GO TO MY ACCOUNT

 

Justin S Lumiere - Merrill |

Website

Directions Save

Financial consultant in Boca Raton, Florida

Address: 1 Town Center Rd, Boca Raton, FL 334
Phone: (561) 393-4526

Suggest an edit

Add missing information

Add business hours

Send to your phone

Reviews writ
Be the first to review

More about Justin S Lumier

From Google Contacts
Only you can see this result

 

Justin Lumiere

Update your profile _

Other: lumierejustin@gmail.com

 
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Jan 8, 2017 - Christi Razzi and Justin Lumiere from Portland, ME have registered at for their wedding on
January 08, 2017. Browse all their registries in one ...

Shah v. Levy Docket Sheet - DocketBird
hitps://www.docketbird.com/court-cases/Shah-v-Levy/nysd-1:2013-cv-02975 v

ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION TEMPORARY RESTRAINING ORDER filed by
Sachin K, Shah. Defendants Justin S. Lumiere and ...

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Case 1:13-cv-02975-LGS-SN Document 169 Filed 08/20/15 Page 1 of 3 Seno fies, 8.

 

 

 

USDC SDNY
DOCUMENT
ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT DOC #:___
- 8/20/2015
SOUTHERN DISTRICT OF NEW YORK DATE FILED ee
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SACHIN SHAH, 13 CIV 2975 (LGS) (SN)
Plaintiff, . ECF CASE
- against -
JUSTIN 8. LUMIERE, et al., STIPULATION AND ORDER
Defendants. :
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IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel for al] parties to this action:

1. Plaintiff Sachin Shah dismisses all claims against defendants Justin Lumiere and

Stefan Lumiere with prejudice.

2. The Clerk of the Court is directed to amend the caption of this action to delete the

names of defendants Justin Lumiere and Stefan Lumiere.

Dated: New York, New York
August 20, 2015

LIDDLE & ROBINSON L.L.P.

Christine ee

 

800 Third Avenue
New York, N.Y. 10022
(212) 687-8500
The Clerk of Court is respectfully directed to
terminate Justin Lumiere and Stefan Lumiere Attorneys for Plaintiff Sachin Shah

as parties in this action.

Dated: August 20, 2015

New York, New York La it Li 7

LorNAG G. SCHOFIELD
UNITED STATES DISTRICT JUDGE

 
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Case 1:13-cv-02975-LGS-SN Document 169 Filed 08/20/15 Page 2 of 3

SO ORDERED:

ULS.D.J.

SHER TREMONTE LLP

bef.
By: he Loe

" Robert Knuts
80 Broad Street, Suite 1301
New York, NY 10004
(212) 202-2638

Attorneys for Defendants Justin Lumiere
and Stefan Lumiere

BRAGAR, EAGEL & SQUIRE, P.C.

By:

 

Lawrence P. Eagel
885 Third Avenue, Suite 3040
New York, NY 10022
(212) 308-5858

Attorneys for Defendant Lester L. Levy, Jr.

 
Case 1:13-cv-02975-LGS-SN Document 342 Filed 11/19/18 Page 9 of 10
Case 1:13-cv-02975-LGS-SN Document 169 Filed 08/20/15 Page 3 of 3

SO ORDERED:

 

ye

SHER TREMONTE LLP

By:
Robert Knuts

80 Broad Street, Suite 1301
New York, NY 10004
(212) 202-2638

Attorneys for Defendants Justin Lumiere
and Stefan Lumiere

BRAGAR, EAGEL & SQUIRE, P.C.

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nyt Mia tes _ |

Lawrence P. Eagel

885 Third Avenue, Suite 3040
New York, NY 10022
(212) 308-5858

Attorneys for Defendant Lester L. Levy, Jr.

 
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